        Case 9:18-cr-00031-DLC Document 105 Filed 10/12/18 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                              CR 18–31–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 RONALD DENNIS MAGALONG,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on September 25, 2018. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Ronald Dennis Magalong’s

guilty plea after Magalong appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered a plea of guilty to one count of bank fraud in

                                           1
        Case 9:18-cr-00031-DLC Document 105 Filed 10/12/18 Page 2 of 2



violation of 18 U.S.C. § 1344(2) as set forth in Count 7 of the Indictment, and one

count of aggravated identity theft in violation of 18 U.S.C. § 1028A(a)(1) as set

forth in Count 16 of the Indictment. In exchange for Defendant’s plea, the United

States has agreed to dismiss Counts 1 and 13 of the Indictment, and the forfeiture

allegation in the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

83), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Ronald Dennis Magalong’s motion to

change plea (Doc. 71) is GRANTED and Ronald Dennis Magalong is adjudged

guilty as charged in Counts 7 and 16 of the Indictment.

      DATED this 12th day of October, 2018.




                                         2
